Case 1:19-cr-00034-JPJ-PMS Document 12 Filed 07/10/19 Page 1 of 1 Pageid#: 13
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 UN ITED STATES O F AG RICA

               V.                                CaseNo.4,
                                                         'Ihœ ôr ç
 SAM ANTH A M ARIE M ILLER
                                                 Violations:       21U.S.C.j841

                                         INFO R M ATION

                                          CO UNT O NE

        The United StatesAttorney chargesthat:

           On oraboutOctober3,2018,in theW estern D istrictofV irginia and elsew here,

 SAM AN THA M ARIE M ILLER know ingly possessed w ith intentto distribute 500 gram sor

 m ore ofam ixtureorsubstance containing adetectable am ountofm ethamphetam ine,itssalts,

 isom ers,and saltsofits isom ers.

        2.A1linviolationofTitlq21,UnitedStatesCode,Sections841(a)(1)and 841(b)(1)(A).
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                         x- ,2019.



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 THOMAST.CULLEN $j##s/ ato.
                          i,
 United StatesAttorney               '




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